A() 9£ (Rev. 021'09) Criminal Complaint

 

 

UNiTED STATES DisTRiCT CoURT

" /j§) for the
C)\\ District of Arizona

 

 

\ United States of America )
id v. )
Noe Vega-Salinas, ) Case No. g ig /?Y ! g ‘-»?L gm w
a.lc.a.: Noe Vega Salinas, ) \l
a.k.a.: Noe, )
(A095 133 693) )
Defendant
CRIMINAL COl\/I_PLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

_ On or about the date o`f l\/Iay 14, 2018, in the County4 of Maricopa in the District of Arizona, the
defendant violated Title 8, U.S.C. § 1326(a), an offense described as folloWs:`

Noe Vega-Salinas, an alien, Was found in the United States of America at or near Phoenix, in the
District of Arizona,` after having been previously denied admission, excluded, deported, and removed 7
from the United States at or near Eagle Pass, Texas, on or about Novernber 21, 2015, and not having
obtained the express consent of the Secretary of the Departrnent of Homeland Security to reapply for
admission thereto; in violation of Title 8, United States Code, Section 1326(a). I further state that I am
a Deportation Officer.

This criminal complaint is based on these facts:

See Attached Statement of Probable Cause Incorporated By Reference Herein

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Reviewed by: Charles E. Bai]ey, P.S. for AUSA Sheila Phillips

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Contrnued on the attached sheet. _ / /':
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:”__./-- Complai)mnt' S sigm)‘flll e
Javier M. Leon,
Depoltation Officer

Primed name and rifle

Sworn to before me and signed in my presence-

 

para . May 16, 2013

Judge 's signature

Bridget S. Bade, l
City and state: Phoenix, A:rizona - United States Magistrate ]udge,- a v~ `* "

Prim‘ed name and fitle

 

STA'I`El\/[EN'I` OF PR()BABLE CAUSE

I, Javier M. Leon, being duly sworn, hereby depose and state as foilovvs:

1. Your affiant is a Deportation Officer With United States Immigration and Custorns
Enforcement (ICE). l have learned from direct participation in the investigation and
from the reports and communications of other agents and officers the facts recited

herein.

2. On or about May 14, 2018, Noe Vega-Salinas was booked into the Maricopa County
Jail (MCJ') by the Mesa Police Department on local charges While incarcerated at the
MCJ, Vega-Salinas Was examined by lCE-Offieer J. Collazo, Who determined him to
be a Mexican citizen, illegally present in the United States. On the same date, an
immigration detainer Was lodged With the MCJ. On May 15, 2018, Vega-Salinas Was
released from the MCJ and transported ,to the Phoenix ICE office for further
investigation and processing Vega~Salinas Was held in administrative custody until

his criminal and immigration records could be obtained and his identity confirmed

3. Immigration history checks revealed Noe Vega-Salinas to be a citizen of l\/Iexico and a
previously deported alien. Vega-Salinas Was removed from the United States to

Mexico through Eagle Pass, TeXas, on or about November 21, 2015, pursuant to the

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reinstatement of an order of removal issued by an immigration official There is no
record of Vega-Salinas in any Depaitment of Homeland Security database to suggest
l that he obtained permission from the Secretary of the Department of Homeland
Security to return to the United States after his removal. Vega-Salinas’ immigration

history was matched to him by electronic fingerprint comparison

. On May 15, 201`8, Noe Vega-Salinas was advised of his constitutional rights. `Vega-
Salinas freely and willingly acknowledged his rights and agreed to provide a statement
under oath. Vega~Salinas stated that his true and complete name is “Noe,” and that he
is a citizen of l\/Iexico. Vega-Salinas stated that he last entered the United States
illegally “3 anos,” through ‘-‘Nogales.” Vega-Salinas further stated he has been
removed from the United States to Mexico and did not receive permission from the
Secretary of the Department of Homeland Security to re-enter the United States after

his removal

. For these reasons, this affiant submits that there is probable cause to believe that on or
about May 14, 20]8, l\loe Vega-Salinas, an alien, was found in the United States of
America at or near Phoenix, in the District of Arizona, after having been previously
denied admission, excluded, deported, and removed from the United States at or near
Eagle Pass, Texas, on or about November 21, 2015, and not having obtained the

express consent of the Secretary of the Department of Horneland Security to reapply

 

for admission thereto; in violation of Title 8, United States Code, Section l326(a).

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L--,,.,/Javier M. Leon,
Deportation Officer,
Immigration and Customs Enforcement

Swom to and subscribed before me
this 16th day of May, 2018.

 
   
 
 

     
   

 

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Brid et S. Bade,

United States Magistrate Judge

 

